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                           IN THE UNITED STATES DISTRICT COURT
                           EOR THE EASTERN DISTRICT OF VIRGINIA
                                             Norfolk Division

                                                                                        .   .


 BENJAMIN NEWSOME, Administrator of
 the Estate of Joshua Johnson,

                   Plaintiff,
 v.                                                              Civil Action No. 2:14cv94


 MATTHEW WATSON,
 And
 MATHEW WILLIAMS,

                           Defendants.


                   ORDER APPROVING WRONGFUL DEATH SETTLEMENT



            THIS CAUSE came before the Court, to be heard at the request of all parties for

 consideration and approval by this Court ofa compromise and settlement of the claimed wrongful
 death of Joshua Johnson;

            The parties have agreed to a settlement with the Defendants not admitting liability but
 agreeing to the settlement out ofa spirit ofcompromise and in exchange for a full and complete
 release.


            It APPEARING to the court that the following rulings should be made based upon the

 agreements reached at the hearing, after notice to all concerned parties and persons, and for good
 cause shown, it is hereby ORDERED as follows:

                          The Defendants. Matthew Watson and Mathew Williams, as well as the

                   City of Norfolk, the Norfolk Police Department and any related persons and

                   entities arc hereby released from any further liability whatsoever, now and in the

                   future, related to this case and the alleged wrongful death of Joshua Johnson on or
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            about May 20, 2013, in exchange for the sum of $ 163,000.00 (ONE HUNDRED

            SIXTY-THREE THOUSAND DOLLARS) which has been agreed to by the

            parties and approved by the court. This sum shall be paid to Benjamin Newsome,
            Administrator of the Estate of Joshua Johnson, and Cooper Hurley. PLLC, to be

            disbursed by Plaintiffs counsel as approved by this court as follows:

                   The court approves the attorney's fee to Cooper Hurley. PLLC in the

            amount of S 34,848.75, with reimbursement to that law firm of costs advanced on

            the file of $18,489.68.

                   The court approves the agreed attorney's fee lien claim of Carl LaMondue.

            in the amount of $5,901.25, with reimbursement to that attorney of costs
            advanced on the file of $25.00.

                   The court approves the amount of $3,200.00, to be paid to Benjamin

            Newsome, as reimbursement for the funeral expenses.

                   The balance of the proceeds from the settlement in the amount of

            $100,535.32 shall be distributed for the benefit of the nine statutory beneficiaries
            who are determined to be:

            Benjamin Newsome Father of Decedent            Date of Birth: August 17. 1959

            Charlene Johnson          Mother of Decedent Date of Birth: July 23, 1961

            Charles Johnson           Brother of Decedent Date of Birth: October 15. 1979

            Parrel1Newsome            Brother of Decedent Date of Birth: November 29, 1980

            Caprice Johnson           Sister of Decedent   Date of Birth: May 10. 1982

            William Johnson           Brother of Decedent Date of Birth: October 28, 1983

            Benjamin Johnson          Brother of Decedent Date of Birth: January 27. 1987
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              Marie Johnson
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                              Sister of Decedent
                                                            Page 3 of 11 PageID# 221
                                                   Date of Birth: April 4. 1989

              Jahmal Newsome         Brother of Decedent Date of Birth February 12, 1995

                     The balance of the proceeds, $100,535.32, shall be divided among the nine

              statutory beneficiaries as follows:

              $33.511.77 to be paid to Benjamin Newsome, father of the Decedent

              $33.511.78 to be paid lo Charlene Johnson. Mother of the Decedent

              $33,511.77 to be split evenly among the seven siblings as below:

                        Payee                 Reason for Payment              Payment Amount

              Charles Johnson              Statutory Beneficiary          $4,787.39

              Parrel 1 Newsome             Statutory Beneficiary          $4,787.39

              Caprice Johnson              Statutory Beneficiary          $4,787.39

              William Johnson              Statutory Beneficiary          $4,787.39

              Benjamin Johnson             Statutory Beneficiary          $4,787.39

              Marie Johnson                Statutory Beneficiary          $4,787.39

              Jahmal Newsome               Statutory Beneficiary          $4,787.39




 WI IEREI'ORE, this action is DISMISSED WITH PREJUDICE.



                                     Entered this fr day of //L^-y^ ~?2015

                                                    Raymond h. Jackson
                                                    United stales District badge
                                                          Judge Raymond A. Jackson
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 I agree to the Order Approving Wrongful Death Settlement in the case of Benjamin Newsome.
 Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathcw Williams, and
 the disbursement of the proceeds.


 C harlene Johnson 0                              Date
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 I agree to the Order Approving Wrongful Death Settlement in the caseof Benjamin Newsome,
 Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathew Williams, and
 the disbursement of the proceeds.

  CUtu- (Ucuj^
 Charles Johnson                                  Date
                                                         \-3o-\S
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 I agree to the OrderApproving Wrongful Death Settlement in the case of Benjamin Newsome,
 Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathcw Williams, and
 the disbursement of the proceeds.


  Parrel 1 Newsome                                Date
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 I agree                         Document
         to the Order Approving Wrongful     36Settlement
                                         Death   Filed 03/19/15    Page
                                                          in the case     7 of 11 PageID#
                                                                      of Benjamin Newsome,225
  Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathcw Williams, and
  the disbursement of the proceeds.

  UMlIJ) ,\§knM^
  Caprice Johnson
                                                         3c^ 3L2.01?
                                                          Date
Case 2:14-cv-00094-RAJ-DEM Document 36 Filed 03/19/15 Page 8 of 11 PageID# 226
 I agree to the Order Approving Wrongful Death Settlement in the case of Benjamin Newsome,
 Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathew Williams, and
 the (disbursement of the proceeds.

                                                   2&15
                                                  Date
Case 2:14-cv-00094-RAJ-DEM Document 36 Filed 03/19/15 Page 9 of 11 PageID# 227
  I-agree to the Order Approving Wrongful Death Settlement in the case of Benjamin Newsome.
  Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathew Williams, and
  the disbursement of the proceeds.

                                                          10 Ftt      i°i 5
   enjarmn Johnson                                 Date
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  I agree to the Order Approving Wrongful Death Settlement in the case of Benjamin Newsome,
  Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathew Williams, and
  the disbursement of the proceeds.


  Marie Johnson"                                          Date
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  1agree to the Order Approving Wrongful Death Settlement in the case of Benjamin Newsome.
  Administrator of the Estate of Joshua Johnson, v. Matthew Watson and Mathew Williams, and
  the disbursement of the proceeds.


  Ja imal Newsome                                         Date
